                                           © M li       ii
              IN CLERK'S OFFICE
        U.S. DISTRICT COURT E.D.N.Y.
                                       D
        * APR 1 5 2021           ★         m 15 2021
                                                                April 12, 2021
        BROOKLYN OFFICE
Dear Clerk:
                                       PRO SE OFFICE

        I attach a money order to cover the $402 filing fee.[Doc. 2]

        I request that you issue summons to the defendant under Federal Rule of
Civil Procedure 4{b). I attach a completed summons for you to sign and seal.
Please disregard the proposed summons I sent to you earlier.[Doc. 1, at 27]
                                                    C
        I consent to receive all notices from the jS3urt electronically and thus
waive any right to service by mail. Please do not send any hardcopies unless
necessary. 1 attach a formal consent notice in a form apparently used in the
Eastern District.



        I request permission to file documents electronically. I am familiar with
CM/ECF,and wish to ease the burden on the pro se office of processing extra
papers. Please docket the attached motion.

        Finally^ I attach an amended complaint. Please docket it accordingly.
Below is a suggestion how you might want to docket the papers I attach -1 hope
this makes your job easier.

            Filing fee - find attached a money order for $402
    4       Amended Complaint
    5       Pro Se Registration and Consent for Electronic Service
    6       Application for Permission for Electronic Filing
    7       Proposed Summons




        Don't hesitate to contact me if 1 can assist you. My phone number is (203)
928-8486.
Respectfully,



/s/ Takub Made)




                                    — 2—

                COMPLAINT UNDER FREEDOM OF INFORMATION ACT
                             Case No. 21-cv-
AO -40(Rev. 06/12) Summons in a Civil Action



                                     United States District Court
                                                                for the

                                                    Eastern District of New York




                        Jakub Madej



                           Plaintifffs)
                               V.                                         Civil Action No. 1:21-cv-01894-WFK-SJB


                    Synchrony Financial


                          Defendant(s)


                                                  SUMMONS IN A CIVIL ACTION


To: f Oefendant's name and address) Synchrony Financial
                                    c/o CT Corporation System Inc.
                                      28 Liberty Street
                                          New York, NY 10005




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or(3)— you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                      Jakub Madej
                                      415 Boston Post Rd, Ste 3-1102
                                      Milford, CT 06460




         If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT



Date:            04/12/2021                                                           _        _   „
                                                                                      Signature ofClerk or Deputy Clerk
